Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 1 of 92




  EXHIBIT 7
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 2 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 3 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 4 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 5 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 6 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 7 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 8 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 9 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 10 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 11 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 12 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 13 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 14 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 15 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 16 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 17 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 18 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 19 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 20 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 21 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 22 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 23 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 24 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 25 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 26 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 27 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 28 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 29 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 30 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 31 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 32 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 33 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 34 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 35 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 36 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 37 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 38 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 39 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 40 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 41 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 42 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 43 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 44 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 45 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 46 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 47 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 48 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 49 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 50 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 51 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 52 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 53 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 54 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 55 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 56 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 57 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 58 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 59 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 60 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 61 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 62 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 63 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 64 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 65 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 66 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 67 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 68 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 69 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 70 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 71 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 72 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 73 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 74 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 75 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 76 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 77 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 78 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 79 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 80 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 81 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 82 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 83 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 84 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 85 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 86 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 87 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 88 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 89 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 90 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 91 of 92
Case 5:24-cv-02531-EKL Document 25-8 Filed 06/20/24 Page 92 of 92
